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 12                        UNITED STATES DISTRICT COURT
 13                      CENTRAL DISTRICT OF CALIFORNIA
 14

 15   IN RE: NATIONAL FOOTBALL                 Case No.: 2:15-ml-02668−PSG (SKx)
      LEAGUE’S “SUNDAY TICKET”
 16   ANTITRUST LITIGATION
                                               MEMORANDUM IN SUPPORT OF
 17                                            PLAINTIFFS’ MOTION TO
                                               COMPEL THE PRODUCTION OF
 18                                            DOCUMENTS IMPROPERLY
                                               WITHHELD AS PRIVILEGED
 19                                            AND FOR LIMITED RELATED
                                               DISCOVERY
 20
      THIS DOCUMENT RELATES TO ALL
 21   ACTIONS                                  JUDGE: Hon. Philip S. Gutierrez
                                               DATE: April 19, 2024
 22                                            TIME: 1:30 p.m.
                                               COURTROOM:
 23                                                  First Street Courthouse
                                                     350 West 1st Street
 24                                                  Courtroom 6A
                                                     Los Angeles, CA 90012
 25

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  3      Association, Proposed Rules for Licensing of In-House Counsel
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  1         Third, given these issues, Plaintiffs requested that the NFL Defendants
  2   review 690 questionable privilege log entries (out of approximately 7,500 total
  3   entries). Many of these privilege assertions were supposedly justified by the
  4   presence of Mr. Hawkins, others appeared to relate to unprivileged business
  5   matters, and still others had plainly inadequate descriptions. See generally Ex. 3.
  6   Again, the NFL Defendants did not suggest that such a request was improper or
  7   untimely. Instead, yet again, they belatedly produced over 750 documents related to
  8   394 of the challenged entries.
  9         The NFL’s late production of such a massive number of documents
 10   demonstrates that it broadly claimed privilege in a broad and unjustified manner,
 11   thereby shielding relevant documents from discovery. And a majority of the
 12   belatedly-produced documents were not plausibly privileged on their face,
 13   including (1) communications with third-parties; (2) discussions of ordinary
 14   business issues; (3) agreements among the team owners, and more. This improper
 15   withholding has unfairly disadvantaged Plaintiffs in their trial preparation efforts.
 16         But it is not too late to address this problem and ensure that the NFL cannot
 17   profit from hiding behind meritless claims of privilege. Trial is in June and the jury
 18   should decide the case on the merits based on the facts—not based on a version of
 19   the facts distorted by the NFL’s improper assertions of privilege. Plaintiffs,
 20   therefore, respectfully move to reopen discovery in a limited fashion to ensure the
 21   production of any more improperly withheld documents and, only if necessary, take
 22   limited trial depositions regarding such documents. Plaintiffs further propose that
 23   the Magistrate Judge assigned to this case shepherd this process to completion on
 24   an expedited basis before trial and to limit any burden on this Court.
 25                                     BACKGROUND
 26   I.    The NFL’s Efforts to Control Sunday Ticket Pricing Since 2002.
 27         Whether the NFL and its member teams with DirecTV to limit the output of
 28   game broadcasts and artificially inflate the prices charged to class members for


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  1                         ARGUMENT AND AUTHORITIES
  2   I.    Plaintiffs’ Motion Is Timely and Appropriately Before this Court.
  3         A.    The NFL Defendants Have a Continuing Obligation under Rule
  4               23(e) to Produce Responsive, Non-Privileged Documents.
  5         While discovery has closed, Rule 26(e) imposes a continuing obligation to
  6   supplement discovery responses, including privilege logs required by Rule
  7   26(b)(5), “in a timely manner if the party learns that in some material respect the
  8   disclosure or response is incomplete or incorrect . . .” Fed. R. Civ. P. 26(e)(1)(A);
  9   see also Fed. R. Civ. P. 26(b)(5). “This duty obliges the entity responding to
 10   discovery to turn over improperly withheld materials without an additional request
 11   from the propounding party.” Trilegiant Corp. v. Sitel Corp., 2012 WL 1883343, at
 12   *4 (S.D.N.Y. May 22, 2012). “The duty to supplement continues even after the
 13   discovery period has closed.” Star Direct Telecom, Inc. v. Global Crossing
 14   Bandwidth, Inc., 272 F.R.D. 350, 358 (W.D.N.Y. 2011) (holding motion “is not
 15   untimely because the duty to supplement continues even following the close of
 16   discovery”). The NFL Defendants are therefore under a continuing obligation to
 17   ensure the accuracy of their privilege logs and release non-privileged documents.
 18         B.    There is Good Cause for Limited Discovery Under Rule 16.
 19         Alternatively, and in addition to Plaintiffs’ motion seeking in camera review
 20   and production of approximately 300 challenged documents, see Section II infra,
 21   Plaintiffs seek to reopen discovery under Rule 16 for the limited purpose of (a)
 22   designating the Magistrate Judge assigned to this case to conduct an in camera
 23   review and (b) allowing Plaintiffs to take a small number of trial depositions, as
 24   may be necessary based on all documents released from the NFL Defendants’
 25   privilege logs. Under Rule 16, the Court should consider the following factors:
 26         1) whether trial is imminent, 2) whether the request is opposed, 3)
            whether the non-moving party would be prejudiced, 4) whether the
 27         moving party was diligent in obtaining discovery within the
            guidelines established by the court, 5) the foreseeability of the need
 28         for additional discovery in light of the time allowed for discovery by

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  1   necessitates a decision by this Court. And, if the Plaintiffs did so, the NFL might
  2   argue, as they have in the past, that the Magistrate Judge lacks the authority to
  3   allow this discovery in light of the discovery cut-off. Second, the Court indicated its
  4   openness to addressing these issues at the January 23, 2024 status conference. See
  5   Dkt. No. 1216, Hearing Tr. at 8-9. Third, given the efficiencies gained by deciding
  6   all pertinent issues at one time and the approaching trial date, Plaintiffs request that,
  7   to the extent if at all necessary, the Court waive compliance with Local Rule 37 and
  8   the Court’s delegation of discovery issues to the Magistrate Judge. See Phoenix
  9   Global Ventures, LLC v. Phoenix Hotel Assocs., Ltd., 422 F.3d 72, 76 (2d Cir.
 10   2005) (“[A] district court has inherent authority to waive its local rules[.]”); Chavez
 11   v. Cal. Dep’t of Corrections & Rehabilitation, 2010 WL 11596462, at *1 n.1 (C.D.
 12   Cal. Mar. 19, 2010) (citing Phoenix).
 13   II.   The Court Should Review Limited, Challenged Documents In Camera
 14         and/or Order Their Production.
 15         There remain approximately 300 documents that Plaintiffs believe the NFL
 16   Defendants continue to improperly withhold, despite Plaintiffs’ challenges since
 17   January 2024. Given the significant issues with the NFL’s privilege logs to date, in
 18   camera review is warranted. See Fed. Trade Comm’n v. Qualcomm Inc., 2018 WL
 19   3868976, at *2 (N.D. Cal. Feb. 24, 2018) (ordering process for in camera review of
 20   1,000 documents to occur within days of order). As discussed further in Part III
 21   below, Plaintiffs further request that the Court order the NFL Defendants to re-
 22   review all remaining entries on their privilege log.
 23         The Ninth Circuit utilizes a two-step analysis for deciding whether in camera
 24   review is appropriate. “First, there must be a ‘factual basis adequate to support a
 25   good faith belief by a reasonable person’ that the communications are not
 26   privileged.” Applied Med. Res. Corp. v. Ethicon, Inc., 2005 WL 6567355, at *2
 27   (C.D. Cal. May 23, 2005) (quoting In re Grand Jury Investigation (U.S. v. The
 28   Corporation), 974 F.2d 1068, 1074 (9th Cir. 1992)). Second, the “court has


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  1   Ex. 2 at 5. And after leaving the NFL to start his own consulting firm in 2008, Mr.
  2   Hawkins—in his own words—described his job at the NFL as inherently business
  3   in nature. See generally Ex. 36 (negotiating contracts, media strategy, etc.).
  4         But when the NFL produced its privilege logs in this case, it gave Mr.
  5   Hawkins a new title that neither he nor the NFL have ever seemingly used in
  6   referring to Mr. Hawkins: “Senior Vice President, Legal and Business Affairs.”
  7   This novel title for Mr. Hawkins appeared when the NFL provided a list of counsel
  8   to Plaintiffs in conjunction with their privilege logs. See Ex. 1. But, as discussed
  9   above, neither Mr. Hawkins’ own recitation of his title, nor the NFL’s initial
 10   disclosures in this case, nor the NFL’s use of Mr. Hawkins in other litigation never
 11   include that extra “Legal” in his title. Indeed, not a single document in the NFL’s
 12   productions in this case utilize the phrase “Legal and Business Affairs” in
 13   connection with Mr. Hawkins (but do for others such as NFL lawyer Gary
 14   Gertzog). The fact that Mr. Hawkins was never registered or licensed to practice
 15   law in New York—despite working at the NFL’s headquarters in New York for
 16   much of his tenure—confirms that his role was at least principally, if not entirely,
 17   business in nature from at least 2000 and onward.
 18         During the parties’ meet-and-confer, the NFL downplayed this fact by
 19   pointing out that ABA Model Rule of Professional Conduct 5.5 permits in-house
 20   counsel to engage in multijurisdictional practice of law. See Ex. 24 at 1
 21   (correspondence to Plaintiffs). That argument, however, ignores two critical facts.
 22   First, the ABA did not amend Rule 5.5 to include this provision until 2002, well
 23   after Mr. Hawkins began working for the NFL in New York.5 Second, New York
 24   did not adopt that policy until 2011—years after Mr. Hawkins no longer worked for
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      5
        See Michael J. Sweeney, Ethics Corner: Unauthorized Practice of Law and the
      Transplanted In-House Counsel, American Bar Association (Mar. 22, 2014),
 28
      https://www.americanbar.org/groups/business_law/resources/business-law-
      today/2014-march/ethics-corner-unauthorized-practice-of-law/.
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  1   the NFL.6 Assuming that Mr. Hawkins was not engaged in the unauthorized
  2   practice of law in New York, the only reasonable conclusion is that Mr. Hawkins
  3   served in a business capacity during that time.
  4          The NFL has also claimed that Mr. Hawkins was a member of the District of
  5   Columbia bar and “started” working for the NFL in a D.C. office maintained by the
  6   NFL. See Ex. 24 at 1. That is of no moment here because it is not the operative time
  7   frame. And the NFL cannot dispute that Mr. Hawkins subsequently began working
  8   out of New York in or around 2000. Property records Plaintiffs located indicate that
  9   Mr. Hawkins moved from the D.C. area to the New York area no later than 2000
 10   and, as discussed above, Mr. Hawkins was using the “Business Affairs” title around
 11   the same time. See Shvestsova Decl. ¶ 3; see also Primetime 24 Joint Venture, 131
 12   F. Supp. 2d at 464. Any privilege log entry claiming privilege based on Mr.
 13   Hawkins’ involvement from 2000 onwards is, therefore, inherently suspect. Those
 14   from before then, though, still implicate Mr. Hawkins’ principal role in business
 15   strategy rather than legal advice.
 16          The NFL’s actions since these issues were raised by Plaintiffs also call into
 17   question all entries asserting privilege on the basis of Mr. Hawkins’ involvement:
 18       • The NFL initially withheld a document on the basis that it reflected legal
            advice from Mr. Hawkins. See Ex. 31 at 86 (reference number 1786/row
 19         1787). After Plaintiffs challenged this entry, the NFL produced it. See
            generally Ex. 37. A review of the document fails to show any “advice” from
 20         Mr. Hawkins—legal, business, or otherwise—and certainly nothing that
            could arguably be considered legal advice. The same is true for the email,
 21         described above, that undermines the NFL’s arguments on competitive
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      6
        See Joint Report of the New York State Bar Association, Association of the Bar of
      the City of New York, and New York County Lawyers’ Association, Proposed
 24
      Rules      for      Licensing      of    In-House      Counsel      (Nov.    2010),
 25   https://nysba.org/app/uploads/2020/02/InhouseCounselReportFinal.pdf         (stating
      that, as of the report’s publication in November 2010, “[o]nly New York and five
 26
      other states have not adopted either Model Rule 5.5(d)(1) or a registration rule for
 27   in-house counsel”); New York State Unified Court System, In-House Counsel
      Registration,       https://ww2.nycourts.gov/attorneys/in-house-counsel/index.shtml
 28
      (stating that the New York State Court of Appeals adopted Rule 522 permitting
      registration of in-house counsel that became effective on April 20, 2011).
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  1         But they should not be permitted to do so without oversight. Plaintiffs
  2   respectfully submit that the Court should appoint a special master with the authority
  3   to: (1) set deadlines by which the NFL should complete its re-review and release all
  4   improperly-withheld non-privileged documents; (2) select any remaining entries to
  5   review in camera as a quality check to ensure that the NFL does not continue to
  6   have such an alarmingly high error rate; (3) review any documents as to which the
  7   parties have a remaining dispute in camera; and (4) recommend limited, additional
  8   discovery to the extent necessary (such as trial depositions if necessitated by
  9   belatedly produced documents). See Fed. R. Civ. P. 53(a)(1)(C) (permitting
 10   appointment of a master to “address pretrial and posttrial matters that cannot be
 11   effectively and timely addressed by an available district judge or magistrate judge
 12   of the district”); Entrata, Inc. v. Yardi Sys., Inc., 2018 WL 4146605, at *3 (D. Utah
 13   Aug. 30, 2018) (appointing special master to conduct in camera review).
 14         To the extent the Court concludes that the challenged entries should be
 15   produced, Plaintiffs may require a small number of depositions of individuals
 16   associated with those entries before trial. As a result, Plaintiffs request the Court
 17   permit up to three additional depositions lasting no more than five hours each.
 18   Without seeing the documents at this time, Plaintiffs believe depositions may be
 19   warranted for Frank Hawkins and potentially others depending on the documents
 20   produced (and documents previously produced that provide context to those
 21   produced under this motion). That said, Plaintiffs have no wish to take unnecessary
 22   depositions at this late date before trial.11 But it is impossible to know whether or
 23   not one or more may be necessary until the contents of the documents are revealed.
 24                                      CONCLUSION
 25         For the foregoing reasons, Plaintiffs respectfully request that this Court grant
 26   this motion so that this case may be tried fully and fairly on the merits.
 27

 28   11
         Indeed, Plaintiffs opted to withdraw their prior motion to take additional
      depositions regarding the latest round of negotiations for Sunday Ticket rights.
                                                25
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  1
         Dated: March 22, 2024           Respectfully submitted,
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